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Bankruptcy Support              Advise and assist the Debtors on matters concerning operating the business
                                under Chapter 11 including accounting cutoff, development and execution of
                                work plans, review of court documents and general case management, reporting
                                requirements, and support counsel and others for Chapter 11 related items;
                                communications; other general administrative tasks related to any Ch. 11
                                proceeding specific to Debtor's enterprise.




Professional                Position                  Billing Rate       Sum of Hours           Sum of Fees

Brian Whittman            Managing Director                $1,025                    4.0           $4,100.00

Erin McKeighan            Managing Director                   $850                   0.6             $510.00

Carl Binggeli             Director                            $725                  10.3           $7,467.50

Ryan Walsh                Senior Associate                    $650                   1.3             $845.00

Davis Jochim              Analyst                             $425                  18.9           $8,032.50

                                                                                    35.1          $20,955.00


                                       Average Billing Rate                                          $597.01




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Cash                            Assist the Debtors with the 13 week cash flow forecast, plan versus actual, DIP
                                reporting requirements, covenant compliance, and other financial analyses.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                      0.5              $512.50

Carl Binggeli             Director                            $725                     10.8            $7,830.00

Ryan Walsh                Senior Associate                    $650                     29.1           $18,915.00

Julio Cifuentes           Associate                           $575                      4.8            $2,760.00

Davis Jochim              Analyst                             $425                     19.0            $8,075.00

                                                                                       64.2           $38,092.50


                                       Average Billing Rate                                              $593.34




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Claims                          Assist the Debtors with claims planning process, review of claims filed against
                                the Debtors', claim reconciliation, and related work including submission of
                                related motions to the court.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                       1.4           $1,435.00

Erin McKeighan            Managing Director                   $850                     10.3            $8,755.00

Carl Binggeli             Director                            $725                       2.1           $1,522.50

Trevor DiNatale           Consultant                          $550                     16.5            $9,075.00

Cally McGee               Analyst                             $400                     96.0           $38,400.00

Gerard Gigante            Analyst                             $475                     71.7           $34,057.50

                                                                                      198.0           $93,245.00


                                       Average Billing Rate                                              $470.93




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Employee                        Employee matters including pension plan and severance.




Professional                Position                 Billing Rate        Sum of Hours       Sum of Fees

Brian Whittman            Managing Director                $1,025                    0.2         $205.00

Carl Binggeli             Director                            $725                   2.6        $1,885.00

Julio Cifuentes           Associate                           $575                   1.8        $1,035.00

                                                                                     4.6        $3,125.00


                                       Average Billing Rate                                      $679.35




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Fee Applications                Prepare the month and interim fee applications in accordance with Court
                                guidelines.




Professional                Position                  Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                     0.1                $102.50

Carl Binggeli             Director                            $725                     2.1           $1,522.50

Nicole Vander Veen        Paraprofessional                    $325                     5.5           $1,787.50

                                                                                       7.7           $3,412.50


                                       Average Billing Rate                                               $443.18




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Financial Analysis               Ad-hoc financial analyses made at the request of various constituencies,
                                 including the Debtor including analysis of local council assets, preparation of the
                                 5 year business plan, and analysis of potential trust contributions.




Professional                 Position                   Billing Rate         Sum of Hours              Sum of Fees

Brian Whittman             Managing Director                  $1,025                     54.0           $55,350.00

Trevor Phillips            Managing Director                    $725                       0.4             $290.00

Carl Binggeli              Director                             $725                    112.2           $81,345.00

Robert Edgecombe           Director                             $525                     40.3           $21,157.50

Ryan Walsh                 Senior Associate                     $650                    185.5          $120,575.00

Tim Deters                 Senior Associate                     $650                     88.3           $57,395.00

Christian Schoerner        Associate                            $375                     30.4           $11,400.00

Davis Jochim               Analyst                              $425                     45.7           $19,422.50

Lewis Kordupel             Analyst                              $425                    234.5           $99,662.50

                                                                                        791.3          $466,597.50


                                        Average Billing Rate                                               $589.66




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Info Req                        Address information requests from, and attend meetings and calls with, various
                                constituencies including lenders, unsecured creditors committee, tort claimants
                                committee, and advisors.




Professional                Position                  Billing Rate         Sum of Hours            Sum of Fees

Brian Whittman            Managing Director                 $1,025                    12.6           $12,915.00

Carl Binggeli             Director                            $725                    40.4           $29,290.00

Ryan Walsh                Senior Associate                    $650                    24.5           $15,925.00

Davis Jochim              Analyst                             $425                    28.7           $12,197.50

                                                                                     106.2           $70,327.50


                                       Average Billing Rate                                             $662.22




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Litigation                      Support negotiations with Tort Claimants including any document discovery,
                                mediation process, abuse claims estimation.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Brian Whittman            Managing Director                $1,025                    21.4          $21,935.00

Carl Binggeli             Director                            $725                   11.0           $7,975.00

                                                                                     32.4          $29,910.00


                                       Average Billing Rate                                           $923.15




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MOR                             Assist the Debtors with the preparation of the Initial Debtor Interview
                                requirements, Initial Operating Report, Monthly Operating Report, and other
                                related matters for the US Trustee.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                      0.1             $102.50

Carl Binggeli             Director                            $725                      1.3             $942.50

Ryan Walsh                Senior Associate                    $650                      1.5             $975.00

Davis Jochim              Analyst                             $425                      3.2           $1,360.00

                                                                                        6.1           $3,380.00


                                       Average Billing Rate                                             $554.10




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Motions/Orders                  Complete analyses and assist the Debtors on various motions filed, and on entry
                                of Orders to implement required reporting and other activities contemplated by
                                the various filed motions.




Professional                Position                  Billing Rate        Sum of Hours             Sum of Fees

Carl Binggeli             Director                            $725                     0.5             $362.50

Ryan Walsh                Senior Associate                    $650                     3.5           $2,275.00

Davis Jochim              Analyst                             $425                     1.9             $807.50

                                                                                       5.9           $3,445.00


                                       Average Billing Rate                                            $583.90




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Plan DS                         Complete analysis and assist the Debtors with the Plan of Reorganization and
                                Disclosure Statement; assist the Debtors with preparation of the Liquidation
                                Analysis.




Professional                Position                  Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                    12.4          $12,710.00

Carl Binggeli             Director                            $725                    11.9           $8,627.50

Ryan Walsh                Senior Associate                    $650                     1.0             $650.00

Tim Deters                Senior Associate                    $650                    62.1          $40,365.00

                                                                                      87.4          $62,352.50


                                       Average Billing Rate                                            $713.42




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Retention                       Prepare documents in compliance with Court retention requirements.




Professional                Position                  Billing Rate       Sum of Hours            Sum of Fees

Carl Binggeli             Director                            $725                    0.3              $217.50

Robert Edgecombe          Director                            $525                    0.3              $157.50

                                                                                      0.6              $375.00


                                       Average Billing Rate                                            $625.00




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Status Meeting                  Prepare for and participate in the Debtors regular status meetings including BOD
                                meetings, update meetings with management, and strategic meetings with Debtor
                                counsel and advisors.




Professional                Position                  Billing Rate        Sum of Hours             Sum of Fees

Brian Whittman            Managing Director                 $1,025                    29.2          $29,930.00

Carl Binggeli             Director                            $725                    14.6          $10,585.00

Ryan Walsh                Senior Associate                    $650                     9.2           $5,980.00

Tim Deters                Senior Associate                    $650                     5.0           $3,250.00

Davis Jochim              Analyst                             $425                     4.6           $1,955.00

Lewis Kordupel            Analyst                             $425                     3.7           $1,572.50

                                                                                      66.3          $53,272.50


                                       Average Billing Rate                                            $803.51




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Vendor Management               Assist the Debtors with all vendor related items including, but not limited to
                                vendor strategy, negotiation, settlements, stipulations, critical vendors and
                                shippers/warehouseman agreements, and advising Debtors' on general accounts
                                payable questions.




Professional                Position                  Billing Rate        Sum of Hours           Sum of Fees

Carl Binggeli             Director                            $725                    5.9           $4,277.50

                                                                                      5.9           $4,277.50


                                       Average Billing Rate                                           $725.00




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